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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BERNICE WARD, as beneficial owner of the            )
WARD REVOCABLE LIVING TRUST,                        )
and SOUTH SUBURBAN HOUSING CENTER,                  )
                                                    )
       Plaintiffs,                                  ) No. 13-cv-8192
                                                    )
vs.                                                 ) Judge Ronald A. Guzman
                                                    )
WILLIAM R. DOWNS JR. and the                        )
FOREST VIEW CONDOMINIUMS II,                        )
     Defendants.                                    )



               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       NOW COME THE PLAINTIFFS, pursuant to Rule 41(1)(A) of the Federal Rules of

Civil Procedure, and hereby voluntarily dismiss the within action with prejudice, no answer

having yet been filed and all matters having been resolved.


Respectfully submitted,

/s Jeffrey L. Taren
Kinoy, Taren & Geraghty P.C.
Attorney for Plaintiff
224 South Michigan, Room 300
Chicago, Illinois 60604
Phone: (312) 663-5210
Fax: (312) 663-6663
Email: jtaren@ktglawyer.com




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